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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

     NATIONAL ALLIANCE FOR
     ACCESSIBILITY, INC., and
     DENISE PAYNE,

                    Plaintiffs,

     vs.                                           CASE NO. 6:11-CV-1975-ORL-19GJK

     LAXMI SAND LAKE HOTEL,
     LTD., a Florida limited partnership,

                    Defendant.


                                             ORDER

            This case was considered by the Court on Defendant Laxmi Sand Lake Hotel, Ltd.’s

     Notice of Settlement (Doc. No. 24 filed May 25, 2012). Upon consideration, this cause is

     DISMISSED, subject to the right of any party to reopen the action within thirty (30) days

     upon good cause shown, or to submit a notice of voluntary dismissal with prejudice, or to

     submit a stipulated form of final judgment.

            DONE AND ORDERED at Orlando, Florida, this           28th      day of May, 2012.




     Copies to:
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     All Counsel of Record
